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                                              THE CITY OF NEW YORK
JAMES E. JOHNSON                             LAW DEPARTMENT                                MATTHEW C. HALLDORSON
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                                                                          October 20, 2020
         BY ECF
         Honorable Paul G. Gardephe
         Thurgood Marshall
         United States Courthouse
         40 Foley Square
         New York, NY 10007

                          Re: R.F. obo K.F. v. N.Y.C. Dep’t of Educ., 20-cv-4693 (PGG)(OTW)

         Dear Judge Gardephe:

                I am an Assistant Corporation Counsel in the office of James E. Johnson, Corporation
         Counsel, and attorney for the defendant New York City Department of Education in the above-
         referenced matter.

                In view of the stipulation the parties just filed at Dkt. No. 15, the parties respectfully
         request that the upcoming pretrial conference scheduled for October 22, 2020 be cancelled as
         this matter has been fully resolved via settlement.

                  Thank you for considering this request.


                                                             Respectfully submitted,

                                                                         /s/
                                                             Matthew C. Halldorson
                                                             Assistant Corporation Counsel
         cc:      Adam Dayan, Esq. (via ECF)




                      October 21, 2020
